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Breach of Contract/Policy of the Open Stories Foundation and intentional harm by John Dehlin.
Per attached policy and career contract, also my career contract with the Open Stories Foundation stated by John
Dehlin and Clint Martin (OSF Board) to be my key responsibility within the Open Stories Foundation to insure the
policy was upheld by all employees.

    1.   Intentional Harm: $100,000.00 - Wednesday, August 10th, 2022 & August 11-15, 2022
              a. Without consent, or knowledge, John Dehlin exposed the Plaintiff’s childhood sexual abuse within
                   the LDS church on a LIVE podcast/livestream with tens of thousands of views.
              b. After the exposure, John Dehlin intentionally harmed the Plaintiff by not removing her from the
                   podcast when explicitly told to do so. He removed only himself from the podcast where he exposed
                   her childhood sexual abuse and left the Plaintiff in.
              c. Plaintiff continues to see a therapist because of the intentional harm of John Dehlin. She battles
                   panic attacks from triggers from the incident above that affect her current career, though her new
                   company she works at has been amazing to her through each episode.
    2.   Harassment and Discrimination:$50,000.00 -
              a. Sexual Jokes and Innuendos between John and a co-worker (C.B.) in the workplace. The Plaintiff
                   confronted John Dehlin and reported the violation and the need for it to immediately stop. It
                   continued and the Plaintiff reported the violation 3 more times with sit-down conversations about
                   the sexual jokes towards each other, sexual banter (who is swinging with who) and the sexual
                   innuendos needed to stop. Each time John Dehlin reported back that he had spoken with C.B. and
                   it would stop. (February 2022-August 2022)
                    After the three noted violations the Plaintiff asked to not work at the office when the former
                   co-worker (C.B.) came into the office, because it went against our contract/policy, and it was not
                   being enforced by John Dehlin when she was there. Plaintiff was denied this request, though her
                   duties could have been performed at home with the equipment loaned to her from the Open Stories
                   Foundation for that purpose. John Dehlin stated he could not be alone with her, so I was denied my
                   request to work from home, thus exposing the Plaintiff to additional violations of the contract/policy.
              b. Sexual Joke toward Plaintiff about her body - The Plaintiff, already having reported 4 violations of
                   the policy to John about our co-worker and himself making it clear her stance on adhering to the
                   OSF Policy, John made an explicit sexual joke about sexual acts (oral sex) on the Plaintiff’s body.
                   (Late July/Early August - unsure on exact date until I have my personal property and access to my
                   calendar etc from OSF)
              c. A second incident occurred with John talking about intimate acts on the Plaintiff’s body. (August
                   23, 2022)
    3.   Discrimination of Pay: $19,360.00 - May 2022-Sept 2, 2022
              a. For a 2 hour co-hosting position pay would be as follows:
                        i.   Margi Dehlin $1000.00 - Wife
                       ii.   C.B. $300.00 - Close Friend and guest co-host
                      iii.   Jenn Kamp $80.00 - Plaintiff
    4.   Unpaid Work Hours: $16,070.00 -
              a. Unpaid Overtime: January 2022 - August 2022
                        i.   $1850.00
              b. Unpaid Event Pay (3 Months) Contract Unpaid at 20% of event, 60 guests x 3 events $395.00 per
                   guest:
                        i.   $14,220.00
    5.   Retaliation/Wrongful Termination: $49,000.00 - 1 year pay, minus the Plaintiff's new career’s income as of
         January, 2023
              a. The Plaintiff put a formal complaint into the board of the Open Stories Foundation (Clint and Keri)
                   on August 25, 2022. After the meeting with the Board and in violation of the policy, the Board
                   stopped all communication with the Plaintiff. The Plaintiff heard nothing back from the Board’s
                   investigation and without warning, and in violation of their own policy/contract with the Plaintiff, the
                   OSF Board fired the Plaintiff. (August 25, 2022 & September 2, 2022)
              b. During the Plaintiff’s Board meeting to address her claims John Dehlin was allowed to attend
                   though it went against policy and the request of the Plaintiff that he not attend. Plaintiff's time during
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                  the board meeting was cut short and given to John followed by questions regarding John’s words.
                  This should not have been allowed and took away from the limited time the Board members had to
                  hear the claims Jenn had prepared. She sent her remaining claims after the board meeting with the
                  request to go over them and set up an additional meeting/call to discuss the remaining items.
                  (August 30, 2022)
             c.   John Dehlin, against policy, was allowed to help with the “investigation” by the board against OSF
                  policy/contract. (August 30, 2022-September 2, 2022)

    6.   Defamation/Slander: $20,000.00 -
             a. John Dehlin (and Margi Dehlin/John’s wife) met with guests/donors of Mormon Stories Podcast
                 (Open Stories Foundation) slandering the Plaintiffs name and reputation. (September/October
                 2022)
             b. John Dehlin slandered the Plaintiff through a variety of social media sites, while using his real name
                 and also under false names/profiles he has on each platform, with slander filled posts and
                 comments.


Signature: Jennifer Ruth Kamp
